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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA


                       Plaintiff,

        v.

 ASSA ABLOY AB                                        Case No. 1:22-cv-02791-ACR

 and

 SPECTRUM BRANDS HOLDINGS, INC.


                       Defendants.


         [PROPOSED] ORDER GRANTING ASSA ABLOY AB’S MOTION FOR
                 CLARIFICATION OF THE FINAL JUDGMENT

       Upon consideration of ASSA ABLOY AB’s (“ASSA ABLOY”) Motion for Clarification

of the Final Judgment, and any responses or replies thereto, IT IS HEREBY ORDERED that the

Motion is GRANTED. Pursuant to Section XV of the Final Judgment (ECF No. 143), the Court

hereby clarifies the “competitive intensity” inquiry authorized by the Final Judgment:

       1.      The “competitive intensity” inquiry is limited in time. The Final Judgment does

not contemplate a continuous analysis of “competitive intensity” study for five years. Rather, the

Final Judgment dictates that the Monitoring Trustee, “after three years following the Divestiture

Date and until the date that is five years from the entry of this Final Judgment,” is tasked with

determining whether the smart lock business ASSA ABLOY divested to Fortune Brands

Innovations, Inc. (“Fortune”) “diminished” in “competitive intensity” relative to “ASSA
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ABLOY’s competitive intensity in that business as of the Divestiture Date.” See ECF No. 143 at

Section IV.

       2.      The “competitive intensity” inquiry is limited in subject matter. Pursuant to the

Final Judgment, if the Monitoring Trustee identifies a diminution in “competitive intensity” “after

three years following the Divestiture Date,” the Monitoring Trustee is authorized to evaluate

whether that “diminishment in competitive intensity is in material part due to limitations on

[Fortune’s] right to use the rights held by ASSA ABLOY to the Yale brand name or trademarks in

the U.S. and Canada as of the Divestiture Date.” Id. The Final Judgment does not contemplate

the Monitoring Trustee investigating whether factors unrelated to “limitations on [Fortune’s] right

to use the rights held by ASSA ABLOY to the Yale brand name or trademarks in the U.S. and

Canada” resulted in a “diminishment in competitive intensity.” Id.

       3.      The “competitive intensity” inquiry is limited to certain market participants. The

Final Judgment contemplates that the Monitoring Trustee may investigate, as part of its

“competitive intensity” inquiry, (i) ASSA ABLOY, “as of the Divestiture Date;” and (ii) Fortune,

for the period “three years following the Divestiture Date and until the date that is five years from

entry of this Final Judgment.” Id.

       4.      The “competitive intensity” inquiry is limited to the “residential Smart Locks

business,” as defined in the Final Judgment. Id. The Final Judgment does not contemplate the

Monitoring Trustee investigating other business segments, including the multifamily smart lock

business or commercial smart lock business.

       The Monitoring Trustee is instructed to comply with this Order when performing the

“competitive intensity” inquiry contemplated by the Final Judgment.

       SO ORDERED this _____________ day of ___________________, 2024.
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                                   Hon. Ana C. Reyes
                                   United States District Judge
